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                                INVESTIGATOR’S NOTE
                                  DesertCart/Saminathan


                                                                            Friday, April 21, 2023

Wednesday, April 18, 2023

Utilizing various sources of information, I searched for the most recently used addresses for
Rahul Swaminathan and found the latest to be 340 S. Lemon Avenue, Walnut, CA.
Swaminathan also currently uses 1 Industrial Park Dr. Unit 9, Pelham, NH 03076. These
addresses are the same as I received from attorney Katie Gosewehr.

Two previous (2008) addresses used by Swaminathan were also located, 340 E. Foothill Blvd,
Claremont and 301 Platt Blvd, Claremont.

Friday, April 21, 2023

I travelled to 340 S. Lemon Avenue, Walnut, CA and found it to be a multiple unit industrial
property located on the northwest corner of Lemon Avenue and Paseo Del Prado. Several
vehicles were found parked in front of unit 340. An inquiry was made into the registered owners
of these cars. None was found in the name of Swaminathan.

A closer inspection of “340” revealed a Southern California Edison “Notice of Visit” was
attached to the doorknob. This notice was dated April 13, 2023, which advised “please turn on
your main switch and/or multi-breaker”. In addition, a FedEx Express notice for delivery was
attached to the window. This notice was dated April 12, 2023. Attempts to gather further
information from Southern California Edison and FedEx were unsuccessful.

I travelled to 301 Platt Blvd, Claremont, CA. This is an address recently used by Swaminathan
(2022) as a place of employment (Associated Students of Harvey Mudd College-ASHMC). It is
also previously used by Swaminathan as a residential address (2008) and is located on Harvey
Mudd College campus. This address appears to be an administration building.

I also travelled to 340 E. Foothill Blvd, Claremont, a previously used (2008) residential address
by Swaminathan. This address is the site of the Joseph B. Platt Campus Center also on the
Harvey Mudd campus. These buildings are used as study halls and associated offices.

Both 301 Platt Blvd and 340 E. Foothill Blvd, Claremont, are both active locations with students
and faculty frequenting the buildings.



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A search of the internet found an article posted in 2021 that lists Swaminathan to be an
Sophomore bio-engineering student who worked with John Hopkins (MD) students on a project
to design a “Adaptable Surgical Mask” (https://ventures.jhu.edu/news/student-engineers-polair-
xprize-adaptable-surgical-mask/). The article states some of the students working on the project
worked remotely.

Conclusion:

There is no absolute way to locate Swaminathan. The 340 S. Lemon Avenue, Walnut, CA
location appears to be an active business but the notices found attached were dated more than 1
week ago. This does not necessarily indicate Swaminathan is not operating out of this location.
Surveillance could most certainly be initiated there.

According to the process server who visited the Harvey Mudd College campus recently and the
article mentioned above, Swaminathan is probably a current student of Harvey Mudd College.
However, as I walked on the campus towards the Joseph B. Platt Campus Center, I was quickly
approached by campus security who inquired if I needed assistance. Harvey Mudd College
would be a difficult location to conduct surveillance.




This investigation is ongoing until further notice.




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